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 2
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 4
     Attorney for ANTHONY WILSON
 5

 6                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
     THE UNITED STATES OF AMERICA,                    ) No. CR. S-09-193 FCD
 8
                     Plaintiff,                       )
 9                                                    ) STIPULATION AND ORDER
             v.                                       ) TO CONTINUE STATUS
10                                                    ) CONFERENCE
     ANTHONY WILSON,                                  )
11
     FRANK TURNER and                                 ) Date: 3-14-11
12
     LESLIE BALL,                                     ) Time: 10:00 a.m.
                     Defendants.                      ) Judge: Hon. Frank C. Damrell, Jr.
13   ================================
14           It is hereby stipulated between the parties, Jill Thomas, Assistant United States Attorney,
15
     Olaf Hedberg, attorney for defendant FRANK TURNER, Shari Rusk, attorney for defendant
16
     LESLIE BALL and Michael Long, attorney for ANTHONY WILSON, that the status conference
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18
     date of January 10, 2011, should be continued until March 14, 2011, at 10:00 a.m.. The continuance

19   is necessary as the parties are still investigating the case, negotiating dispositions, and the parties are

20   taking in to account the new crack cocaine guidelines which were published by the United States
21
     Sentencing Commission on November 1, 2010.
22
             IT IS STIPULATED that the period of time from the signing of this Order up to and
23
     including the new status conference date of March 14, 2011, be excluded in computing the time
24

25   within which trial must commence under the Speedy Trial Act, pursuant to 18 U.S.C. §

26   3161(h)(7)(B)(iv) and Local Code T4, for ongoing preparation of counsel and that the continuance
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     outweighs the best interests of the public and the defendants to a speedy trial.
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 1   Dated: January 5, 2011                     Respectfully submitted,
 2
                                                /s/ Michael D. Long___
 3                                              MICHAEL D. LONG
                                                Attorney for ANTHONY WILSON
 4
     Dated: January 5, 2011                     /s/ Olaf Hedberg _____ .
 5
                                                OLAF HEDBERG
 6                                              Attorney for FRANK TURNER

 7   Dated: January 5, 2011                     /s/ Shari Rusk __
                                                SHARI RUSK
 8
                                                Attorney for LESLIE BALL
 9
     Dated: January 5, 2011                     BENJAMIN WAGNER
10                                              United States Attorney
11
                                                /s/ Jill Thomas____
12
                                                JILL THOMAS
                                                Assistant U.S. Attorney
13

14          IT IS SO ORDERED.
15

16   Dated: January 6, 2011            _______________________________________
                                       FRANK C. DAMRELL, JR.
17
                                       UNITED STATES DISTRICT JUDGE
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